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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                     18-CR-126

       -against-
                                                             NOTICE OF MOTION
TITUS THOMPSON,

                       Defendant.
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MOTION BY:                                             Jason L. Schmidt, Esq.
                                                       Attorney for Defendant

DATE, TIME & PLACE:                                    Before the Honorable Elizabeth
                                                       Wolford, United States District Judge,
                                                       Robert H. Jackson United States
                                                       Courthouse, 2 Niagara Square,
                                                       Buffalo, New York.

SUPPORTING PAPERS:                                     Affirmation of Jason L. Schmidt, Esq.
                                                       dated December 14, 2020.

RELIEF REQUESTED:                                      (i) relieving Jason Schmidt, Esq. as
                                                       counsel of record;
                                                       (ii) determining Mr. Thompson’s
                                                       financial eligibility for assigned counsel;
                                                       and (iii) if necessary, appointing new
                                                       counsel for Mr. Thompson.

DATED:                                                 December 14, 2020
                                                       Fredonia, New York

                                                       __________/s/______________
                                                       Jason Schmidt, Esq.
                                                       63 Central Avenue
                                                       Fredonia, New York 14063
                                                       Attorney for Defendant
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                               18-CR-126

       -against-                                       AFFIRMATION

TITUS THOMPSON,

                       Defendant.
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       JASON L. SCHMIDT, affirms under penalties of perjury:

       1.      I am counsel of record for Titus Thompson and make this motion for

the purpose of being removed as counsel of record and assisting Mr. Thompson to

obtain new counsel to complete the post-conviction process.

       2.      On November 4, 2020, I was elected Chautauqua County District

Attorney, a full-time prosecutorial position which I will assume as of January 1st.

Because I was retained by Mr. Thompson, he would typically retain new counsel to

substitute in my place. However, Mr. Thompson may not have the financial means

to retain new counsel and I am therefore concerned that he obtain replacement

representation.

       3.      For this reason, I ask the Court to inquire of Mr. Thompson

concerning his financial ability to retain new counsel and, if appropriate, have Mr.

Thompson complete a financial affidavit in order to determine his eligibility for
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either assigned counsel or representation through the Federal Public Defender’s

Office

         3.   For the foregoing reasons I respectfully request that the Court delay

further post-conviction proceedings and grant this application in its entirety.

Dated: Fredonia, New York
       December 14, 2020                      Respectfully submitted,

                                                    /s/
                                              _____________________
                                              JASON L. SCHMIDT, ESQ.
                                              Attorney for Roman Dunnigan
                                              63 Central Avenue
                                              Fredonia, NY 14063
                                              Phone 716.672.5800
                                              Fax 716. 672.5881
                                              jason@jlschmidt-law.com
